33 F.3d 52
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ardie D. NOLON, III, Plaintiff Appellant,v.C. W. BLAND;  Larry Johnson Norman;  Craven County JailMedical Staff, Defendants Appellees.
    No. 94-6663.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 19, 1994.Decided Aug. 17, 1994.
    
      Before HALL, LUTTIG, and WILLIAMS, Circuit Judges.
      Ardie D. Nolon, III, appellant pro se.
      PER CURIAM:
    
    
      1
      Ardie D. Nolon, III, appeals the district court's order dismissing his 42 U.S.C. Sec. 1983 (1988) action as frivolous pursuant to 28 U.S.C. Sec. 1915(d) (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Nolon v. Bland, No. CA-94-228-5-CT-H (E.D.N.C. May 25, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    